                                                                                                               Case 2:20-cv-08035-SVW-JPR Document 183 Filed 06/28/21 Page 1 of 4 Page ID #:4679



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                                                                                I R V I N E , C A 92614-2545
                                              5 PAR K PLA ZA
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                                                                                                                  13                           UNITED STATES DISTRICT COURT
                                                                                                                  14               CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
                                                                                                                  15   HONG LIU,                                 Case No. 2:20-cv-08035-SVW-JPR
                                                                                                                  16                     Plaintiff,              The Honorable Stephen V. Wilson
                                                                                                                  17           v.                                JOINT STIPULATION RE
                                                                                                                                                                 CONTINUANCE OF PRE-TRIAL
                                                                                                                  18                                             CONFERENCE AND PRE-TRIAL
                                                                                                                                                                 AND TRIAL DATES IN LIGHT OF
                                                                                                                  19   FARADAY&FUTURE INC.,                      SETTLEMENT OF ACTION
                                                                                                                       SMART KING LTD., JIAWEI
                                                                                                                  20   WANG, and CHAOYING DENG,                  [Filed Concurrently with Joint Notice of
                                                                                                                                                                 Settlement]
                                                                                                                  21                     Defendants.
                                                                                                                                                                 Pre-Trial Conference July 19, 2021
                                                                                                                  22                                             Time:                3:00 p.m.
                                                                                                                                                                 Place:               Courtroom 10A
                                                                                                                  23
                                                                                                                                                                 Trial Date:           July 27, 2021
                                                                                                                  24                                             Time:                 9:00 a.m.
                                                                                                                                                                 Place:                Courtroom 10A
                                                                                                                  25
                                                                                                                  26 AND RELATED COUNTERCLAIM.
                                                                                                                  27
                                                                                                                  28
                                                                                                                       117265954
                                                                                                                                     JOINT STIPULATION RE CONTINUANCE OF PRE-TRIAL AND TRIAL DATES
                                                                                                               Case 2:20-cv-08035-SVW-JPR Document 183 Filed 06/28/21 Page 2 of 4 Page ID #:4680



                                                                                                                   1              In light of the parties’ settlement of the above-captioned action and their
                                                                                                                   2   concurrent filing of a Joint Notice of Settlement, and pursuant to the Court’s Civil
                                                                                                                   3   Trial Preparation Order dated February 25, 2021 [Dkt. No. 87] (the “Trial
                                                                                                                   4   Preparation Order”), Plaintiff and Counter-Defendant Hong Liu (“Plaintiff”), and
                                                                                                                   5   Defendant Smart King Ltd. (“Smart King”) and Defendant and Counterclaimant
                                                                                                                   6   Faraday&Future Inc. (“Faraday Future”; together with Smart King, “FF” or the
                                                                                                                   7   “Company”; and collectively with Plaintiff, the “Parties”), jointly submit the
                                                                                                                   8   following stipulation regarding continuance of the pre-trial conference, and the pre-
                                                                                                                   9   trial and trial dates:
                                                                                                                  10              WHEREAS, the Trial Preparation Order vacated a previously scheduled status
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                                                                                                                  11   conference and serves as this case’s scheduling order under Rule16(b) of the Federal
                                                                                                                  12   Rules of Civil Procedure (“Federal Rules”);
                                                                                I R V I N E , C A 92614-2545
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                                                                                                                  13              WHEREAS, the Trial Preparation Order was entered on February 25, 2021
                                                                                                                  14   and set trial for June 8, 2021;
                                                                                                                  15              WHEREAS, the Trial Preparation Order ordered the Parties to begin discovery
                                                                                                                  16   following that order’s issuance and to conduct discovery in accord with the Federal
                                                                                                                  17   Rules to the fullest extent possible;
                                                                                                                  18              WHEREAS, the Trial Preparation Order invited the Parties to file a stipulation
                                                                                                                  19   to adjust discovery deadlines as necessary;
                                                                                                                  20              WHEREAS, on May 10, 2021, the Court, on its own motion, continued trial
                                                                                                                  21   of this action to July 27, 2021 (the “July 27 Phase I Trial Date”) and set a Pretrial
                                                                                                                  22   Conference for July 19, 2021 [Dkt. No. 150];
                                                                                                                  23              WHEREAS, on June 1, 2021, the Court ordered that it will conduct a bench
                                                                                                                  24   trial on the July 27 Phase I Trial Date exclusively as to the issues of rescission and
                                                                                                                  25   voidability of the employment agreement (“Employment Agreement”) between
                                                                                                                  26   Plaintiff and FF (the “Phase I Trial”), and that its adjudication of the Phase I Trial
                                                                                                                  27   will determine the need to thereafter schedule and conduct a jury trial on Plaintiff’s
                                                                                                                  28
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                                                                                                                                      JOINT STIPULATION RE CONTINUANCE OF PRE-TRIAL AND TRIAL DATES I
                                                                                                               Case 2:20-cv-08035-SVW-JPR Document 183 Filed 06/28/21 Page 3 of 4 Page ID #:4681



                                                                                                                   1   claim for breach of the Employment Agreement (the “Phase II Trial”) [Dkt No. 176;
                                                                                                                   2   and Dkt. No. 180 at pp. 3:21-4:16];
                                                                                                                   3              WHEREAS, on June 27, 2021, the Parties reached a settlement in principle of
                                                                                                                   4   the above-captioned action (the “Settlement”), and have agreed to work in good faith
                                                                                                                   5   to formally document and effectuate the terms of the Settlement as soon as possible,
                                                                                                                   6   following which the Parties will file dismissals, with prejudice, of the Complaint and
                                                                                                                   7   of the Second Amended Counterclaim, respectively;
                                                                                                                   8              WHEREAS, in light of the Settlement, in furtherance of formally documenting
                                                                                                                   9   and effectuating its terms, and subject to the immediately following paragraph, the
                                                                                                                  10   Parties stipulate and agree to respective 30-day continuances of (i) the July 19, 2021
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                                                                                                                  11   Pre-Trial Conference; (ii) the July 27, 2021 Phase I Trial Date; (iii) any Phase II or
                                                                                                                  12   other trial dates that subsequently may be scheduled by the Court; and (iv) all pre-
                                                                                I R V I N E , C A 92614-2545
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                                                                                                                  13   trial deadlines based upon those dates, to dates beginning from and after August 23,
                                                                                                                  14   2021, respectively (collectively, the “Pre-Trial and Trial Dates”); and
                                                                                                                  15              WHEREAS, the Parties further stipulate and agree that the agreed-upon
                                                                                                                  16   respective 30-day continuances of the Pre-Trial and Trial Dates shall not re-open
                                                                                                                  17   discovery, or otherwise extend the discovery cut-off date, with the sole exception of
                                                                                                                  18   discovery that was undertaken and remained to be completed as of June 27, 2021.
                                                                                                                  19              THEREFORE, the Parties stipulate and agree to respective 30-day
                                                                                                                  20   continuances of the Pre-Trial and Trial Dates in accordance with the terms of this
                                                                                                                  21   Joint Stipulation.
                                                                                                                  22   Dated: June 28, 2021           FOUNDATION LAW GROUP LLP
                                                                                                                  23
                                                                                                                  24                                  By: /s/ Kevin D. Hughes
                                                                                                                                                         Kevin D. Hughes
                                                                                                                  25                                     Attorneys for Plaintiff and Counter-Defendant
                                                                                                                                                         HONG LIU
                                                                                                                  26
                                                                                                                  27                              [Signatures Continued on Next Page]

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                                                                                                               Case 2:20-cv-08035-SVW-JPR Document 183 Filed 06/28/21 Page 4 of 4 Page ID #:4682



                                                                                                                   1   Dated: June 28, 2021             TROUTMAN PEPPER HAMILTON SANDERS LLP
                                                                                                                   2
                                                                                                                                                        By /s/ Alan J. Kessel
                                                                                                                   3                                      Alan J. Kessel
                                                                                                                                                          Attorneys for Defendant
                                                                                                                   4
                                                                                                                                                          SMART KING LTD. and Defendant and
                                                                                                                   5                                      Counterclaimant FARADAY&FUTURE INC.
                                                                                                                   6                                          ATTESTATION
                                                                                                                   7              Pursuant to L.R. 5-4.3.4, I hereby attest that all other signatories listed, and
                                                                                                                   8   on whose behalf the filing is submitted, concur in the filing’s content and have
                                                                                                                   9   authorized the filing.
                                                                                                                  10                                                           /s/ Alan J. Kessel
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                                                                                                                                                                             Alan J. Kessel
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